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                  EXHIBIT B-091
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                    IN THE SUPERIOR COURT OF FULTON COUNTY
                                                                                     FILED IN OFFICE
                                     ST ATE OF GEORGIA


INRE:                                         )
SPECIAL PURPOSE GRAND JURY                    )       2022-EX-000024
                                              )
Witness:                                      )       Judge Robert C. I. McBurney
Willie Lewis Floyd Ill                        )


     PETITION FOR CERTIFICATION OF NEED FOR TESTIMONY BEFORE
    SPECIAL PURPOSE GRAND JURY PURSUANT TO THE UNIFORM ACT TO
   SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUT THE ST ATE,
     CODIFIED IN THE STATE OF GEORGIA AS O.C.G.A. § 24-13-90 ET SEQ.

       COMES NOW the State of Georgia, by and through Fani T. Willis, District Attorney,

Atlanta Judicial Circuit, Fulton County, Georgia, and petitions this Honorable Court for a

Certificate of Need for Testimony Before Special Purpose Grand Jury, pursuant to O.C.G.A. §

24-13-92 et seq., and in support thereof says as follows:

       l. /\. Special Purpose Grand Jury investigation commenced in Fulton County, Georgia,

           by order of this court on May 2, 2022. See Order Impaneling Special Purpose Grand

           Jury Pursuant to O.C.G.A. § 15-12-100, Et Seq, "Exhibit A". The Special Purpose

           Grand Jury is authorized to investigate any and all facts and circumstances relating

           directly or indirectly to possible attempts to disrupt the lawful administration of the

           2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand

           Jury, "Exhibit B".

       2. While Georgia law authorizes special purpose grand juries to conduct both civil and

           criminal investigations, the Special Purpose Grand Jury's investigation is criminal in

           nature in that it was requested for the purpose of investigating criminal disruptions

           related to the 2020 elections in Georgia, and the Special Purpose Grand Jury is
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    authorized to make recommendations concerning criminal prosecution. Further, the

    authority for a special purpose grand jury to conduct a criminal investigation has been

    upheld by the Supreme Court of Georgia. See State v. Lampl, 296 Ga. 892 (2015).

    Accordingly, the provisions of the Uniform Act to Secure the Attendance of

    Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.

 3. Willie Lewis Floyd III, also known as Harrison William Prescott Floyd III, born

    November 9, 1984, (hereinafter, "the Witness") is a necessary and material witness to

    the Special Purpose Grand Jury's investigation. Through both its investigation and

    through publicly available information, the State has learned the following

    information.

 4. In the months leading up to the November 2020 election in Georgia, the Witness was

    a director of Black Voices for Trump, a coalition between the Trump Campaign and

    others aimed at increasing former President Trump's support among Black voters.

 5. On or about December 21, 2021, the Witness stated to Reuters that sometime after the

    November 2020 election, the Witness was asked by an unidentified man, described by

    the Witness as a chaplain with federal law enforcement connections, to arrange a

    meeting with Ruby Freeman, a Fulton County election worker who had been publicly

    accused of committing election fraud by individuals associated with the Trump

    Campaign. According to the Witness, the purpose of the meeting was to discuss a

    purported "immunity deal" with Freeman. The Witness then arranged for Trevian

    Kutti, a purported publicist based in Chicago, Illinois, to meet with Freeman.

 6. The Special Purpose Grand Jury's investigation has revealed that on January 4, 2021,

    Kutti traveled from Chicago to Freeman's home in Georgia to attempt to meet with
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    her. Freeman initially declined to meet with Kutti, but the two subsequently met that

    evening at a Cobb County Police Department precinct after Cobb County Police

    Department officers responded to Freeman's home. The District Attorney has

    reviewed video footage showing that prior to the meeting, Kutti made statements to

    Freeman via telephone indicating that "an armed squad of federal" officers would

    "approach" Freeman and her family within 48 hours and that Kutti had access to

    "very high-profile people that can make particular things happen ... in order to

    defend yourself and your family."

 7. During the meeting at the Cobb County Police Department, which was captured in

    part on body worn camera footage reviewed by the District Attorney, Kutti made

    similar statements, indicating to Freeman that her "freedom ... and the freedom of

    one or more of your family members" would be disrupted if Freeman declined her

    assistance and that Freeman was "a loose end for a party that needs to tidy up." Kutti

    also stated her intent to connect Freeman with the Witness, referring to him as "a

    Black progressive crisis manager, very high level, with authoritative powers to get

    you protection that you need." After making these statements, Kutti made a lengthy

    telephone call to the Witness on speakerphone so that he could join in the

    conversation with Freeman. During the telephone conversation, in the presence of the

    Witness, Freeman was pressured to reveal information under the threat of

    incarceration if she did not comply.

 8. Finally, based on information received by the Special Purpose Grand Jury, the

    Witness appears to have been the primary person responsible for putting Kutti in

    touch with Freeman in order to facility these conversations.
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 9. The Witness, based on his relationship with and knowledge ofTrevian Kutti, is a

    necessary and material witness. The Witness possesses unique knowledge concerning

    the substance of Kutti' s conversations with Ruby Freeman, the circumstances

    surrounding his decision to connect Kutti with Freeman, the logistics of setting up the

    meeting between Kutti and Freeman, and any communications between himself,

    others involved in the planning and execution of the meeting, the Trump Campaign,

    and other known and unknown individuals involved in the multi-state, coordinated

    efforts to influence the results of the November 2020 election in Georgia and

    elsewhere. Finally, the Witness's anticipated testimony is essential in that it is likely

    to reveal additional sources of information regarding the subject of this investigation.

 10. The testimony of the Witness will not be cumulative of any other evidence in this

    matter.

 11. The Witness resides outside the jurisdiction of this Honorable Court and is therefore

    unable to be served with process to compel attendance and testimony.

 12. The Witness currently resides in Adelphi, Prince George's County, Maryland.

 13. The Witness will be required to be in attendance and testify before the Special

    Purpose Grand Jury on Wednesday, September 28, 2022, at 9:00 a.m. The District

    Attorney reasonably anticipates that the Witness's testimony will not exceed one day.

 14. The Office of the Fulton County District Attorney, in and for the State of Georgia,

    will pay all reasonable and necessary travel expenses and witness fees required to

    secure the Witness's attendance and testimony, in accordance with the Uniform Act

    to Secure the Attendance of Witnesses from Without a State in Criminal Proceedings.

    See O.C.G.A. §24-13-90 et seq.
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       15. If the Witness comes into the State of Georgia pursuant to this request, directing the

           Witness to attend and testify before the Special Purpose Grand Jury, the laws of this

           State shall give the Witness protection from arrest and from service of civil or

           criminal process, both within this State and in any other state through which the

           Witness may be required to pass in the ordinary course of travel, for any matters

           which arose before the Witness's entrance into this State and other states.

       16. Both Georgia and Maryland have adopted the Uniform Act to Secure the Attendance

           of Witnesses from Without a State in Criminal Proceedings. See O.C.G.A. § 24-13-

           90; Md. Code Ann. § 9-301 et seq.

       WHEREFORE, the State of Georgia, by and through Fani T. Willis, District Attorney,

Atlanta Judicial Circuit, fulton County, Georgia, prays that this Honorable Court issue a

Certificate of Need for Testimony Before Special Purpose Grand Jury, pursuant to O.C.G.A. §

24-13-92 et seq., certifying to the proper authorities in the jurisdiction in which the Witness is

located that the Witness is a necessary and material witness whose attendance and testimony is

required for the above-referenced Special Purpose Grand Jury investigation, and the presence of

the Witness will be needed for the number of days specified above,

       Respectfully submitted this the 2nd day of September, 2022,

                                                     FANI T. WILLIS
                                                     DISTRICT ATTORNEY
                                                     ATLANTA JUDICIAL CIRCUIT




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                                                                        outhwest
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                                   Atlanta, Georgia 30303
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                     Exhibit A
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IN RE: REQUEST FOR
       SPECIAL PURPOSE
        GRAND JURY

              OJR.li)ERAPPROVING lREOUESTFOR SPECIAL PURPOSE
              GRAND .nJRY PURSUANT TO O.C.G.A. §15-12-100; et seq.

       The District Attorney for the AtlantaJudicial Circuitsubmitted to the judges of the

Superior Comt of Fulton County a requestto impanela specialpurposejury for the purposesset

forth in that request. This request was consideredand approvedby a majority of the total

number of the judges of this Court, as requiredby O.C.G.A.§15-12-IOO(b).

       IT IS THEREFORE ORDEREDthat a specialpurposegrandjury be drawn and

impaneled to serve as provided in O.C.G.A.§ I5-12-62.1, I5-12-67,and 15-12-100,to

commencecinMay 2, 2022, and continuingfor a period not to exceed 12 months. Such period

shall not include any time periods when the supervisingjudge determinesthat the special

purpose grand jury cannot meet for safety or other reasons,or any time periods when normal

court operations are suspendedby order of the SupremeCourtof Georgia or the Chief Judge of

the Superior Court. The special purpose grandjury shall be authorizedto investigate any and all

facts and circumstancesrelating directly or indirectlyto alleged ,~o!ationsof the laws of the

State of Georgia, as set forth in the requestof the DistrictAttorneyreferenced herein above.

       Pursuant to O.C.G.A. § 15-12-1Ol(a), the HonorableRobert C. I. McBumey is hereby

assigned to supervise and assist the specialpurpose grandjmy, and shall charge said special

purpose grandjury and receive its reports as providedby law.
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       This authorization shall include the investigation of any overt acts or predicate acts

relating to the subject of the special purpose grand jury's investigative purpose. The special

purpose grand jury, when making its presentments and reports, pursuant to 0.C.G.A. §§ 15-12-

71 and 15-12-101, may make recommendations concerning criminal prosecution as it shall see

fit. Furthermore, the provisions ofO.C.G.A. § 15-12-83shall apply.

       This Court also notes that the appointment of a special purpose grand jury will permit the

time, efforts, and attention of the regular grandjury(ies) impaneled in this Circuit to continue to

be devoted to the consideration of the backlog of criminal matters that has accumulated as a

result of the COVID-19 Pandemic.

       IT IS FURTHER 0.KJ,.,"'4P_~-~s                 Order shall be filed in the Office of the Clerk of

the Superior Court of Fulto Count .           \
                                                  \

        SOOWBRED, TH                   A                .....
                                                           ~~1+--S _   __,_ _   _,2022.




                               CHRISTOP          S. BRASHER;@lIEF WOGE
                               Superior Court of Fulton County
                               Atlanta Judicial Circuit
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                      Exhibit B
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                       OFFICE OF THE FULTONCOUNTYDISTRICTATTORNEY
                                   ATLANTAJUDIC!ALCIRCUIT
                                 136 PRYORSTREETSW,3RDFLOOR
                                     ATLANTA,GEORGIA30303
                                                              TELEPHONE404-612-4639
~Ii    X&t&-;
District Attorney



                                                                                'LD'l'l·-EX- DODD/1
      The Honorable Christopher S. Brasher
      Chief Judge, Fulton County Superior Court                                   FILED IN OFFICE
      Fulton County Courthouse                                                                            J)
      185 Central Avenue SW, Suite T-8905
      Atlanta, Georgia 30303

      January 20, 2022

      Dear Chief Judge Brasher:

      I hope this Jetter finds you well and in good spirits. Please be advised that the District Attorney's
      Office has received information indicating a reasonable probability that the State of Georgia's
      administration of elections in 2020, including the State's election of the President of the United
      States, was subject to possible criminal disruptions. Our office has also learned that individuals
      associated with these disruptions have contacted other agencies empowered to investigate this
      matter, including the Georgia Secretary of State, the Georgia Attorney General, and the United
      States Attorney's Office for the Northern District of Georgia, leaving this office as the sole
      agency with jurisdiction that is not a potential witness to conduct related to the matter. As a
      result, our office has opened an investigation into any coordinated attempts to unlawfully alter
      the outcome of the 2020 elections in this state.

      We have made efforts to interview multiple witnesses and gather evidence, and a significant
      number of witnesses and prospective witnesses have refused to cooperate with the investigation
      absent a subpoena requiring their testimony. By way of example, Georgia Secretary of State
      Brad Raffensperger, an essential witness to the investigation, has indicated that he will not
      participate in an interview or otherwise offer evidence until he is presented with a subpoena by
      my office. Please see Exhibit A, attached to this Jetter.

      Therefore, I am hereby requesting, as the elected District Attorney for Fulton County, pursuant
      to O.C.G.A. § 15-12-100 et. seq., that a special purpose grand jury be impaneled for the purpose
      ofinvestigating the facts and circumstances relating directly or indirectly to possible attempts to
      disrupt the lawful administration of the 2020 elections in the State of Georgia. Specifically, a
      special purpose grand jury, which will not have the authority to return an indictment but may
      make recommendations concerning criminal prosecution as it shall see fit, is needed for three
      reasons: first, a special purpose grand jury can be impaneled by the Court for any time period
      required in order to accomplish its investigation, which will likely exceed a normal grand jury
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     term; second, the special purpose grandjury wouldbe empoweredto review this matter and this
     matteronly, with an investigatoryfocus appropriateto the complexityof the facts and
     circumstancesinvolved; and third, the sitting grandjury wouldnot be requiredto attemptto
     addressthis matter in addition to their normalduties.

    Additionally,I am requesting that, pursuantto 0.C.G.A. § I 5-12-101,a Fulton CountySuperior
    CourtJudge be assigned to assist and supervisethe specialpurposegrandjury in carryingout its
    investigationand duties.

    I have attacheda proposed order impanelingthe specialpurposegrandjury for the consideration
    of the Court.

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'-mstrict   Attorney, Atlanta Judicial Circuit

    ExhibitA: Transcript of October 3 I, 202I episodeof Meet the Press on NBC News at 26:04
    (videoarchived at https://www.youtube.com/watch?v=B7lcBRPgt9k)
    ExhibitB: Proposed Order

    cc:
    TheHonorableKimberly M. EsmondAdams
   The HonorableJane C. Barwick
   The HonorableRachelle Camesdale
   The HonorableThomas A. Cox, Jr.
   The HonorableEric Dunaway
   The HonorableCharles M. Eaton, Jr.
   The HonorableBelinda E. Edwards
   The HonorableKelly Lee Ellerbe
   The HonorableKevin M. Farmer
   The HonorableUral Glanville
   The HonorableShakura L. Ingram
   The HonorableRachel R. Krause
   The HonorableMelynee Leftridge
   The HonorableRobert C.I. McBumey
   The HonorableHem-yM. Newkirk
   The HonorableEmily K. Richardson
   The HonorableCraig L. Schwall, Sr.
   The HonorablePaige Reese Whitaker
   The HonorableShermela J. Williams
   FultonCounty Clerk of Superior Court.Cathelene"Tina" Robinson
